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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 TODD KREISLER,
                               Plaintiff,
                                                                 19-CV-8584 (JPO)
                     -v-
                                                                       ORDER
 455 BROADWAY REALTY LLC, ET
 AL.,
                    Defendants.


J. PAUL OETKEN, District Judge:

       Counsel for Defendant Muji U.S.A. Limited (“Muji”) in the above-referenced ADA

action informed the court that, pursuant to an order confirming Muji’s bankruptcy plan, all

claims against Muji have been permanently enjoined and discharged. (Dkt. No. 59.)

       Accordingly, the Clerk of Court is directed to dismiss Defendant Muji from the case.

       SO ORDERED.

Dated: January 11, 2021
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge
